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                                                          Exhibit A to the Complaint
Location: Philadelphia, PA                                                                               IP Address: 73.13.151.78
Total Works Infringed: 25                                                                                ISP: Comcast Cable
 Work       Hashes                                                                UTC             Site         Published     Registered   Registration
 1          Info Hash: E9CDFAD5F9DB94A44C23B7F11EA638796D167965                          09-10-   Vixen        01-21-2022    02-14-2022   PA0002335466
            File Hash:                                                                     2022
            910B41FE37A417E9FCD7B722104056F16235DA6C8F2A95CFF2124459A60232AF           05:49:19
 2          Info Hash: 34F0DA2F0CCF929271FCC00697F4B9070B8C4254                          08-28-   Vixen        08-26-2022    10-05-2022   PA0002373767
            File Hash:                                                                     2022
            14077D361F4604AA9DBBE92C06966CEF5BB7DC4073ECF07D76458645073A9F67           16:02:24
 3          Info Hash: B27D8D99D9484987D81089C43A7109765AA1F55A                          08-24-   Tushy        08-21-2022    08-29-2022   PA0002367745
            File Hash:                                                                     2022
            A7EBB4AA309D124EC87D5B728F618B63C028F63E6570331FDEC44F836A9CFA97           07:05:59
 4          Info Hash: AA22F2CD2ED007CE11D1639BA548C9346BDB69AE                          08-16-   Tushy        08-14-2022    08-30-2022   PA0002367744
            File Hash:                                                                     2022
            7DE2E3446F60125E2CD3F7313529FA175A0DDC164323F0861FEEA22CAD059647           07:37:19
 5          Info Hash: B2BD02F85748E9B929C507FF7927035B3DB7D9C3                          07-31-   Vixen        07-29-2022    08-29-2022   PA0002367717
            File Hash:                                                                     2022
            F5512656E2B6581C621ECB4540F947AD22C4D7282DEBB316F0E72005F6943ADC           12:26:53
 6          Info Hash: 1A76A113C1D33455F6FB4D100985C9DA1974F425                          07-25-   Vixen        07-22-2022    08-30-2022   PA0002367741
            File Hash:                                                                     2022
            3A1FA743DEEE32C83316CCC75083FEBCC7CAAF64D5BE1B92439D792FDBDBA248           02:57:45
 7          Info Hash: 8D084151BC3BB0184A284913F8756A95942EC720                          07-19-   Tushy        07-17-2022    07-22-2022   PA0002359476
            File Hash:                                                                     2022
            55006DE9A9044C14737EFE43D27A79D43DD51BCD53A887462B4B898E7CA1B9BD           08:26:26
 8          Info Hash: 59273C2580C92D41695C8A1D890F6F4AB3D63299                          06-21-   Vixen        06-17-2022    06-27-2022   PA0002355040
            File Hash:                                                                     2022
            C0F97DC824E118F0CA0225BB2C6B6E04DD9B1E2F68E10D364DD9F6F24E2E081F           05:38:20
 9          Info Hash: F9827E88E2C8E6F9161E337D751EC646A7C7F1B4                          06-06-   Vixen        06-03-2022    06-27-2022   PA0002354958
            File Hash:                                                                     2022
            BCD7702DC88A5350A35E6CA4BD3D4EB66206404244D188AA0B67BEEAF19199C0           06:38:00
 10         Info Hash: 649357DB13B2B11CDE20AFDA507F0BA540C1E838                          05-13-   Tushy        05-08-2022    05-20-2022   PA0002350382
            File Hash:                                                                     2022
            2432AC32CA81B94D6B4F8A68B7954E9E5027BA19DECAF036B6C7B3CBEC93178F           05:31:54
 11         Info Hash: E90115F8B4EDB83CCE5CFD1711E21AAB8BFD0892                          04-11-   Vixen        04-08-2022    05-20-2022   PA0002350388
            File Hash:                                                                     2022
            9CEE06823BBE8F033CAA7203AD4A26D243283B180012CD6182E454F7F89B26B0           08:05:10
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Work   Hashes                                                             UTC         Site    Published    Registered   Registration
12     Info Hash: FD5C62D3613EF573E62CD6548E3BDFA287B049F1                   04-05-   Vixen   04-01-2022   04-23-2022   PA0002346428
       File Hash:                                                              2022
       D69EA86DE6D070D289158FCFAC79742948FA880377BB95F432466115FA63BC67    01:57:47
13     Info Hash: C40F6A98512F84D9D0C838BF9FC66544941725B4                   03-15-   Tushy   03-13-2022   03-29-2022   PA0002342866
       File Hash:                                                              2022
       3B4832C1E78ED9ECAD5D29B7648F8A669A3A3C00284699836CE0E676552CD6EF    17:35:45
14     Info Hash: A7FE11FF178E43F27E96A4CA768E6D251C3DF09F                   02-28-   Vixen   02-25-2022   03-29-2022   PA0002342849
       File Hash:                                                              2022
       F76E9255C19E746AB8267282BCA56184D76B1FDA1AFAABF6DF9FD25F96CC2663    16:26:31
15     Info Hash: E2E68820407E0FB05991CFFEFE53EFC218590A8D                   02-21-   Vixen   02-18-2022   03-29-2022   PA0002342837
       File Hash:                                                              2022
       CF2C29881DDA4BC685691F715D85B9800ED9ECCED999D1F0A7886C855CEC256D    06:55:16
16     Info Hash: 2852AEE8B6AB6138EA7CA903F0B4F5C631524135                   02-17-   Tushy   02-13-2022   03-29-2022   PA0002342838
       File Hash:                                                              2022
       928CA8B37D1EAFB68D0EAC72480ECCDEEACD43C4BEE5C0DFB56A717B87666771    14:33:13
17     Info Hash: E487AEAF023F000FA0480422191EA7DFF77E00FB                   02-04-   Vixen   01-28-2022   03-04-2022   PA0002345791
       File Hash:                                                              2022
       AEDD21CC7A3E4701C1F3B23E0A5882C51BC45309D48DD1CD664C8F846FD123BC    17:45:14
18     Info Hash: 19568E850A84FBB15C3BAA9E7C92F323D836836B                   11-09-   Tushy   11-07-2021   11-11-2021   PA0002321317
       File Hash:                                                              2021
       EFCA8EF9C4F29CB53DF8B73B8B7A6994BD373438128B32FF218BC1CB41393FCB    10:33:44
19     Info Hash: 775F2CA14447D23424007E92CCEAE9378307B48E                   10-18-   Vixen   10-15-2021   10-19-2021   PA0002317061
       File Hash:                                                              2021
       393A96A4745DB1CF46E96730EAB57731FE56A1C423EE2CE3AFB30A929D0BE688    08:10:15
20     Info Hash: 42AE2105490978802CCCA1E58E3F98374AD6D75B                   10-12-   Vixen   10-08-2021   11-11-2021   PA0002321269
       File Hash:                                                              2021
       2895C8A5CEA1F7B3E825FCE56821786A7E5A99DC75F1C87A3913ADE9EBE220A0    09:34:09
21     Info Hash: B5AA5C3AB921F95936B7D911457ED412E86496CC                   10-01-   Vixen   09-29-2021   11-11-2021   PA0002321322
       File Hash:                                                              2021
       622428573E787EC0A79B734175F79713DFADA96C407F7EC2D81CBEA1D8D2AE54    16:32:59
22     Info Hash: A415A6857FC17645C0DD4F459251809AE42AF562                   08-29-   Vixen   08-27-2021   09-30-2021   PA0002319735
       File Hash:                                                              2021
       BCB5233B1D65A9B1514D1C32F7A765BBEFEE0FAB7DA467BC9573F47FE7EC1955    09:42:44
23     Info Hash: EA9FF13E03AB98F784270C43F9812FF205C74AD8                   08-23-   Vixen   08-19-2021   10-05-2021   PA0002315294
       File Hash:                                                              2021
       4B815AE2C3BBEFEA6AB1B15442E7FE5D03648BDEEA1A2993D20BF914535C52BE    05:28:56
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Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: 752E7DEB87A02334B5649EE1FC8F0D941D627158                   08-21- Tushy   08-19-2021   10-05-2021   PA0002315293
       File Hash:                                                              2021
       71B09A393C031EA3C4E064DF8E2A8D683B27DDB53606D4942CBE12A690354ED8    09:45:52
25     Info Hash: 4B9A8463F0FBAAEB3D89398BD2E72F6762E3A2E6                   08-16- Tushy   08-15-2021   08-23-2021   PA0002308401
       File Hash:                                                              2021
       2A432F4B2985F283FDB6A3F28DCB67E189DF5FD6A6A609EFA7A572FA356D191C    18:50:17
